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  7   Marty Freywald
  8
  9                        UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12                                      ) Case No.: 2:14-cv-05021-MRW
      MARTY FREYWALD,                   )
13                                      )
                    Plaintiff,          ) JOINT MOTION TO DISMISS
14                                      )
             vs.                        ) WITH PREJUDICE
15                                      )
                                        )
16    CAPITAL ONE (USA), N.A., and DOES )
                                        )
      1-50, inclusive,                  )
17                                      )
18                                      )
                                        )
                    Defendants.         )
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                               JOINT MOTION TO DISMISS WITH PREJUDICE

      FREYWALD v. CAPITAL ONE                                      Case No. 14-5021-MRW
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  1         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), plaintiff Marty
  2   Freywald and defendant Capital One, N.A., erroneously sued as Capital One
  3   (USA), N.A., hereby stipulate and move to dismiss the above-captioned action,
  4   with prejudice, in its entirety. Each party agrees to pay its own costs and
  5   attorneys’ fees.
  6
  7
  8   Dated: September 24, 2014                      CROWLEY LAW GROUP
  9
                                                     s/Andre L. Verdun
10                                                   ANDRE L. VERDUN
11                                                   Attorney for Plaintiff,
                                                    MARTY FREYWALD
12
13
14    Dated: September 24, 2014                      DOLL AMIR & ELEY LLP
15
16                                                   /s/ Chelsea L. Diaz
                                                     Chelsea L. Diaz
17                                                   Attorney for Defendant,
18                                                   Capital One, N.A.
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                            JOINT MOTION TO DISMISS WITH PREJUDICE

      FREYWALD v. CAPITAL ONE                                      Case No. 14-5021-MRW
